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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TRUSTEES OF THE SUBURBAN TEAMSTERS
OF NORTHERN ILLINOIS PENSION FUND,

                                Plaintiff,               Case No. 2015-CV-10323

          vs.                                            Assigned Judge:
                                                         Judge Thomas M. Durkin
THE E COMPANY, a dissolved Illinois
corporation; T&W EDMIER CORP., a dissolved               Designated Magistrate Judge:
Illinois corporation; EDMIER CORP., an                   Judge Sheila Finnegan
Illinois corporation; K. EDMIER & SONS, LLC,
an Illinois limited liability company; and
THOMAS W. EDMIER, individually,

                                Defendants.

                            MEMORANDUM IN SUPPORT OF
                           DEFENDANTS’ MOTION TO COMPEL

          NOW COME the Defendants, THE E COMPANY, a dissolved Illinois corporation;

T&W EDMIER CORP., a dissolved Illinois corporation; EDMIER CORP., an Illinois

corporation; K. EDMIER & SONS, LLC, an Illinois limited liability company; and THOMAS

W. EDMIER, individually (herein collectively referred to as “Defendants”), by and through

their attorney, GEORGE L. GRUMLEY, and for their Memorandum in Support of

Defendants’ Motion to Compel Discovery, state as follows: 1

          Plaintiff has sought substantial discovery from Defendants, including subject matter

out of the scope of the notice of liability letter sent by Plaintiff. Plaintiff has taken the

depositions of William Edmier, Thomas Edmier and Kevin Edmier. It has filed, and

Defendants have answered, Requests to Admit, Interrogatories and Requests to Produce.

Plaintiff’s enthusiasm over discovery belies their position that discovery should not be


1    T&W EDMIER CORP. and THE E COMPANY have been dissolved by the Illinois Secretary of State for
    failure to file taxes. Thus, when notice was arguably received from Plaintiff, TRUSTEES OF THE
    SUBURBAN TEAMSTERS OF NORTHERN ILLINOIS PENSION FUND (“Plaintiff”), they were out of
    business, had no employees and no officers.
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permitted to Defendants. Does this really make sense? Plaintiff has effectively waived its

claim that Defendants should be denied discovery by their own actions.

                                       ARGUMENT

       No case cited by Plaintiff supports its contention that Defendants should be denied

discovery on the matter in which it is sought herein. Nor, is arbitration, despite Plaintiff’s

contentions, a mandatory prerequisite to a request for discovery. Although arbitration

under the Multiemployer Pension Plan Amendments Act of 1980 (“MPPAA”) is mandatory,

the requirement is not a jurisdictional prerequisite. Central States, Southeast and

Southwest Areas Pension Fund v. Midwest Motor Exp., Inc., 999 F.Supp.1153 (N.D. Ill.

1998). Federal courts confronted with the issue whether arbitration is required under

MPPAA have uniformly analyzed the question as an issue of exhaustion of administrative

remedies, not as an issue of an absolute jurisdictional bar. I.A.M. Nat’l Pension Fund

Benefit Plan C v. Stockton Tri Indus., 727 F.2d 1204, 1207 (D.C. Cir.); see also Republic

Indus. v. Central Pa. Teamsters Pension Fund, 693 F.2d 290 (3d Cir. 1982); I.A.M. Nat’l

Pension Fund v. Schulze Tool and Die Co., 564 F.Supp.1285, 1289 (N.D. Cal. 1983).

                   NOT ALL MATTERS TO BE RESOLVED ARE
                  UNDER EXCLUSIVE ARBITRAL JURISDICTION

       Arbitration under MPPAA is not a statutorily specified jurisdictional prerequisite to

judicial resolution of a dispute under the Statute. I.A.M. Nat’l Pension Fund Benefit Plan C

v. Stockton Tri Indus., 727 F.2d 1204 (D.C. Cir.). Courts have previously held that initial

recourse to arbitration is statutory direction, one generally to be followed unless neither

party timely presses a plea in abatement, and the district court finds that deferring a court

contest while parties repair to arbitration will neither lead to application of superior

expertise nor promote judicial economy. Id.




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       The Court in Findlay Truck Line, Inc. v. Central States, S.E. & S.W. Areas Pension

Fund, 726 F.3d 738, 744 (6th Cir. 2013) has acknowledged that there are exceptions to the

arbitration requirement, “such as where the arbitrator does not possess special expertise,

where arbitration would not promote judicial economy, where deference to the statutory

record is not necessary, and where arbitration would not develop a helpful record. See also

Dorn’s Transp., Inc. v. Teamsters Pension Trust Fund, 787 F.2d 897, 903 (3d Cir.1986);

T.I.M.E.-DC v. Mgmt.-Labor Welfare & Pension Funds, 756 F.2d 939, 945 (2d Cir.1985).

       As the Seventh Circuit explained, the issue of membership in a “control group”

cannot be within exclusive arbitral jurisdiction. Central States, S.E. & S.W. Areas Pension

Fund v. Slotky, 956 F.2d 1369, 1373 (7th Cir. 1992). While the dicta in Slotky uses the

example of a person ‘who had absolutely no reason to believe that they might be deemed

members of a controlled group’ to support the above statement, the Court proceeds to

present other examples and states that “the courts can resolve some disputes over

membership in controlled groups.” Id. Because Congress has not clearly stated in MPPAA

that a court cannot decide an issue without first requiring arbitration, courts have

concluded that arbitration under MPPAA is not a statutorily specified jurisdictional

prerequisite. I.A.M. Nat’l Pension Fund Benefit Plan C v. Stockton Tri Indus., 727 F.2d

1204, 1208 (D.C. Cir.) (ruling that arbitration was neither a statutory prerequisite to the

district court’s jurisdiction nor was arbitration a requirement mandated by jurisprudential

considerations).

                   MATTERS SOUGHT IN DISCOVERY BY DEFENDANTS
                      ARE NOT BEST RESOLVED IN ARBITRATION

       A mandatory prerequisite of arbitration barring discovery would unlawfully deprive

Defendants of their statutory rights. If Plaintiff intends to produce a witness, Defendants

have a right to cross examine the testimony of such witnesses. In the case cited by Plaintiff,


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NYSA-ILA Pension Trust Fund v. American Stevedoring, Inc., 2013 U.S Dis. LEXIS 44351

(S.D. NY. Mar. 26, 2013), discovery was denied because “the matter in which it seeks

discovery is available only in arbitration mandated by the MPPAA (ruling that seeking

discovery to prove plaintiff deliberately used incorrect address to deprive defendants of

notice is mandated to arbitration). This is not the issue presented by this case or the reason

why discovery is sought.

         As set forth in Am. Stevedoring, Inc., 2013 U.S. Dis. LEXIS 44351, the issues which

shall be subject to arbitration include: (1) questions of whether there has been a withdrawal

governed by 29 U.S.C. §1383 (employer withdrawals) and §1385 (partial withdrawals); (2)

questions of what the withdrawal liability is and how it should be calculated are addressed

in 29 U.S.C. §1381 (withdrawal liability established); §1382 (determination and collection of

liability and §1391 (method of computing withdrawal liability); and (3) sale or assets or

changes in business form are addressed in 29 U.S.C. §1384 (sale of assets) and §1398

(suspension during labor dispute). The discovery sought in this case is not an issue that

shall be subject to arbitration, as conveyed in Am. Stevedoring, Inc., 2013 U.S. Dis. LEXIS

44351.

         MPPAA mandates that the issues listed above and others like them must be resolved

exclusively by arbitration. New York State Teamsters Conference Pension & Ret. Fund v.

McNicholas Transp. Co., 848 F.2d 20, 22 (2d Cir. 1988). As supported by I.A.M. Nat’l

Pension Fund Benefit Plan C v. Stockton Tri Indus., Defendants engaging in arbitration for

the matter sought in discovery will not lead to superior expertise when the district court can

instead determine the factual and legal issues involved.       Defendants’ ability to cross-

examine a witness, such as the Fund’s director, and assessing his qualifications, is a matter

sought which is not best resolved in arbitration. Hotel 71 Mezz Lender LLC v. National

Retirement Fund, 778 F.3d 593, 600 (7th Cir. 2015) acknowledged the factual nature of the

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issue, yet allowed the court itself to serve as finder of fact. The method of discovery that

Plaintiff intends to bar with an asserted arbitral mandate would allow Defendants to

uncover material facts that are pertinent to recognize potential discrepancies and reach the

truthfulness of Plaintiff’s asserted information.

                                       CONCLUSION

       The factual issue in this case is not one of merely characterization of a controlled

group or a matter seeking discovery on factual issues which are best resolved in arbitration.

Based on the above authority, arbitration in this case would neither promote judicial

economy nor develop a helpful record. If a motion for summary judgment was filed,

discovery would further prove to be imperative to demonstrate a genuine dispute of material

facts. After Plaintiff has discussed their intentions to file for summary judgment for six

months, they have filed no such motion.



                                                    Respectfully submitted,


                                                    /s/ George L. Grumley
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                               CERTIFICATE OF SERVICE

      George L. Grumley, an attorney, hereby certifies that a copy of the foregoing was

served upon the following via CM/ECF, this 30th day of March 2017:

      John J. Toomey
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                                               /s/ George L. Grumley
                                               George L. Grumley




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